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                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

IN RE:                                       §
KATHRYN DENISE DAWN                          §
                                             §    CASE NO. 24-32499
                                             §
DEBTOR                                       §                  Chapter 7


              MOTION FOR EXTENSION OF TIME TO FILE
SCHEDULES, STATEMENT OF FINANCIAL AFFAIRS, STATEMENT OF CURRENT
        MONTHLY INCOME, AND CURRENT LIST OF CREDITORS

       COMES NOW, Kathryn Denise Dawn, Debtor in the above-styled and captioned case,

respectfully request an extension of time to file the original Chapter 7 Schedules A through J and

Summary, Statement of Financial Affairs, Statement of Intent, Chapter 7 Statement of Current

monthly income and Means Test Calculation, and related documents (the “Required Documents”),

within the 14 days allowed by 11 U.S.C. Section 521(a)(1) and Rules of Bankruptcy Procedure

Rule 1007(c) but no later than June 28, 2024; and as a basis for such, would show unto the Court as

follows:

       1. On May 30, 2024 Debtor completed their credit counseling with Debt Education and

Certificate Foundation, an agency approved by the U.S. Trustee pursuant to 11 U.S.C., Sections

109(h) and 111.

       2. On May 31, 2024, the Debtor filed a voluntary petition under Chapter 7 of the U.S.

Bankruptcy Code without the inclusion of the original schedules, Statement of Intent, statement of

Financial Affairs, and Payment Advices (the “Required Documents”). Dkt 1.

       3. One June 4, 2024, Debtor’s pay advices were filed. Dkt 4.

       4. The date to complete the Required Documents is May 31, 2024.

       5. Debtor respectfully requests an extension of time to file the original Chapter 7 Schedules

A through J and Summary, Statement of Financial Affairs, Statement of Intent, Chapter 7
          Case 24-32499 Document 11 Filed in TXSB on 06/14/24 Page 2 of 3



Statement of Current monthly income and Means Test Calculation, and related documents (the

“Required Documents”) within the 14 days, but no later than June 28, 2024, and any other and

further relief as is justified.




Date: June 14, 2024                       Respectfully submitted,

                                           /s/ Stuart M. Price
                                          Stuart M. Price
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                                          6345 Balboa Blvd. Suite 247
                                          Encino, CA 91316
                                          Phone: (818) 995-4540
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                                          ATTORNEY FOR DEBTOR
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                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

IN RE:                                      §
KATHRYN DENISE DAWN                         §
                                            §     CASE NO. 24-32499
                                            §
DEBTOR                                      §                 Chapter 7


                                CERTIFICATE OF SERVICE

       I hereby certify that on June 14, 2024, a true and correct copy of the foregoing MOTION

FOR EXTENSION OF TIME TO FILE SCHEDULES, STATEMENT OF FINANCIAL AFFAIRS,

STATEMENT OF CURRENT MONTHLY INCOME, AND CURRENT LIST OF CREDITORS was

served on Debtor(s), the U.S. Trustee, Standing Chapter 7 Trustee, Federal Court Clerk and Debtor

by US First Class Mail and/or ECF Transmission.




Date: June 14, 2024                         Respectfully submitted,

                                             /s/ Stuart M. Price
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